84 F.3d 1452
    318 U.S.App.D.C. 78
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.KA5E54 TELEVISION PARTNERSHIP, Appellant,v.FEDERAL COMMUNICATIONS COMMISSION, Appellee.
    No. 95-1398.
    United States Court of Appeals, District of Columbia Circuit.
    April 29, 1996.
    
      Before:  EDWARDS, Chief Judge;  GINSBURG and HENDERSON, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was heard on the record from the Federal Communications Commission and on the briefs and arguments of counsel.   The court has accorded the arguments full consideration and has determined that the issues presented occasion no need for a published opinion.   See D.C.Cir. Rule 36(b).   Accordingly, it is
    
    
      2
      ORDERED that the decision of the Commission be affirmed.   The Commission rejected the appellant's application on the ground that, inter alia, the appellant had not shown a lack of harmful interference with respect to 316 proposed stations within 50 miles.   Insofar as the appellant failed to raise its specific objections to the Commission's conclusion in a second petition for reconsideration, the objections are not properly before the court.
    
    
      3
      The clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 41(a)(1).
    
    